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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          STATESBORO DIVISION
                                                                     7




ERIC STEPHON McCLENDON,

       Movant,

V.                                         Case No. CV613-113
                                                     CR612-001
UNITED STATES OF AMERICA,

       Respondent.

                                ORDER

      After a careful de flOVO review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this            day of   /6 , 2014.


                                   B. AVAPEDEN1'IELD
                                   UNITED STATES DISTRIC       JUDGE
                                   SOUTHERN DISTRICT O         GEORGIA
